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                      IN THE UNITED STATES DISTRICT COURT
                       FOR THE WESTERN DISTRICT OF TEXAS
                                 WACO DIVISION

 XR COMMUNICATIONS, LLC,                           § Case No. 6:21-cv-695-ADA
                                                   §
               Plaintiff,                          §
                                                   §
        v.                                         §
                                                   §
 SAMSUNG ELECTRONICS CO., LTD., et                 §
 al.,                                              §
                                                   §
               Defendants.
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          STIPULATED SUPPLEMENTAL PROTECTIVE ORDER BETWEEN
           NON-PARTY QUALCOMM INCORPORATED, PLAINTIFF, AND
                             DEFENDANTS


       WHEREAS, the Court entered a Protective Order to protect Party and Non-party

confidential business information in the above referenced action on November 30, 2022 (Dkt. No.

64) (“Protective Order”); and

       WHEREAS, XR Communications, LLC (“Plaintiff”); Samsung Electronics Co., Ltd. and

Samsung Electronics America, Inc. (collectively “Defendants”) (together, hereinafter referred to

as “the Parties”); and Qualcomm Incorporated (“QUALCOMM”), a non-party to this action, may

produce confidential Source Code (as defined below) and other documents in this action that

include or incorporate CONFIDENTIAL INFORMATION belonging to QUALCOMM
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(“QUALCOMM Confidential Information”); and
       WHEREAS the Parties and Non-Party QUALCOMM have agreed to provisions in addition

to those contained in the Protective Order to protect against misuse or disclosure of such
QUALCOMM Confidential Information;
       WHEREFORE, IT IS HEREBY ORDERED that Source Code (as defined below) or
documents that incorporate QUALCOMM Confidential Information produced in connection with
the above-captioned matter that are designated as “QUALCOMM – OUTSIDE ATTORNEYS’
EYES ONLY” and “QUALCOMM – OUTSIDE ATTORNEYS’ EYES ONLY –SOURCE
CODE” shall be subject to the following restrictions:
I.     DEFINITIONS
       1.      “QUALCOMM MATERIAL”: Confidential information (regardless of how
generated, stored, or maintained) or tangible things that include or incorporate Non-Party
QUALCOMM Confidential Information, that Non-Party QUALCOMM (i) would not normally
reveal to third parties except in confidence, or has undertaken with others to maintain in
confidence, (ii) believes in good faith is significantly sensitive, or (iii) protected by a right to
privacy under federal or state law, or any other applicable privilege or right related to
confidentiality or privacy. QUALCOMM MATERIAL includes all information, documents,
Source Code, and things produced, served, or otherwise provided in this action by any Party or by
Non-Party QUALCOMM, that include or incorporate QUALCOMM Confidential Information.
       2.      “QUALCOMM          –   OUTSIDE        ATTORNEYS’       EYES     ONLY”      material:
information, documents, and things that include or incorporate QUALCOMM MATERIAL.
       3.      “Source Code”: means human-readable representations of actually completed,
implemented, and/or realized software, firmware, and integrated circuits. Source Code includes,
but is not limited to, programming language text, symbolic representations of integrated circuits
(“Chip-Level Schematics”) or graphical depictions of physical configuration of semiconductor
material within integrated circuit die or chip (“Integrated Circuit Layouts”). Source Code includes,
but is not limited to, programming language text in “C,” “C++,” BREW, Java ME, J2ME,

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assembler, digital signal processor (“DSP”), Hardware Design Language (“HDL”), VHDL, or
Verilog programming languages. Source Code in the form of programming language text shall be

made available for inspection in ASCII text files. File formats within which Source Code in the
form of Chip-Level Schematics or Integrated Circuit Layouts may be made available for inspection
include, but are not limited to, pdf file format.
       4.      “QUALCOMM – OUTSIDE ATTORNEYS’ EYES ONLY –SOURCE CODE”
Material: QUALCOMM MATERIAL that includes Source Code that constitute proprietary
technical or commercially sensitive competitive information that Non-Party QUALCOMM
maintains as highly confidential in its business, the disclosure of which is likely to cause harm to
the competitive position of Non-Party QUALCOMM.
       5.      “Designated QUALCOMM Material”: material that is designated “QUALCOMM
– OUTSIDE ATTORNEYS’ EYES ONLY” or “QUALCOMM – OUTSIDE ATTORNEYS’
EYES ONLY –SOURCE CODE” under this Supplemental Protective Order.
       6.       “Designated Source Code Material”: material that is designated “QUALCOMM
– OUTSIDE ATTORNEYS’ EYES ONLY –SOURCE CODE” under this Supplemental
Protective Order.
       7.      “Personnel Retained by a Receiving Party in this Action” means any consultants,
experts, or outside counsel (including their support staff) that have been and continue to be retained
by a Receiving Party in this action. For the sake of clarity, any person who was retained by a
Receiving Party in this action will no longer fall under this definition if that person ceases to be
retained by a Receiving Party in this action.
       8.      “Party” means any Party to the above-captioned action, including all of its officers,
directors, employees, consultants, retained experts, and all support staff thereof.
       9.      “Producing Party” means a party or non-party that discloses or produces Designated
QUALCOMM Material in the above-captioned actions.
       10.     “Receiving Party” a Party that receives Designated QUALCOMM Material from a
Producing Party in the above-captioned actions.

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       11.     “Authorized Reviewer(s)” shall mean persons authorized to review “QUALCOMM
– OUTSIDE ATTORNEYS’ EYES ONLY” and “QUALCOMM – OUTSIDE ATTORNEYS’

EYES ONLY –SOURCE CODE” material in accordance with this Supplemental Protective Order
and the Protective Order.
       12.     “Counsel of Record”: (i) Outside Counsel who appears on the pleadings, or has
entered an appearance in this action, as counsel for a Party, and (ii) partners, principals, counsel,
associates, employees, and contract attorneys of such Outside Counsel to whom it is reasonably
necessary to disclose the information for this litigation, including supporting personnel employed
by the attorneys, such as paralegals, legal translators, legal secretaries, legal clerks and shorthand
reporters.
       13.     “Outside Consultant”: a person with specialized knowledge or experience in a
matter pertinent to the litigation who has been retained by Counsel of Record to serve as an expert
witness or a litigation consultant in this action (including any necessary support personnel of such
person to whom disclosure is reasonably necessary for this litigation), and who is not a current
employee of a Party, of a competitor of a Party, or of Non-Party QUALCOMM, and who, at the
time of retention, is not anticipated to become an employee of, or a non-litigation consultant of:
1) a Party, 2) a competitor of a Party, 3) a competitor of Non-Party QUALCOMM, or of 4) Non-
Party QUALCOMM.
       14.     “Professional Vendors”: persons or entities that provide litigation support services
(e.g., photocopying; videotaping; translating; designing and preparing exhibits, graphics, or
demonstrations; organizing, storing, retrieving data in any form or medium; etc.) and their
employees and subcontractors who have been retained or directed by Counsel of Record in this
action, and who are not current employees of a Party, a competitor of a Party, or of Non-Party
QUALCOMM, and who, at the time of retention, are not anticipated to become employees of: 1)
a Party, 2) a competitor of a Party, 3) a competitor of Non-Party QUALCOMM, or 4) Non-Party
QUALCOMM. This definition includes ESI vendors, and professional jury or trial consultants
retained in connection with this litigation to assist a Party, Counsel of Record, or any Outside

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Consultant in their work. Professional vendors do not include consultants who fall within the
definition of Outside Consultant.

II.     RELATIONSHIP TO PROTECTIVE ORDER
        15.       This Supplemental Protective Order shall not diminish any existing restriction with
respect to Designated QUALCOMM Material. The Parties and QUALCOMM acknowledge and
agree that this Supplemental Protective Order is a supplement to the Protective Order entered in
this action on November 21, 2022 in the United States District Court, Western District of Texas,
in this action.
        16.       The Protective Order applies to all material designated pursuant to this
Supplemental Protective Order. To the extent that there is any confusion or conflict between
protective orders with respect to Designated QUALCOMM Material, then this Supplemental
Protective Order governs.
        17.       In addition to the restrictions outlined in this Supplemental Protective Order,
material designated as “QUALCOMM – OUTSIDE ATTORNEYS’ EYES ONLY –SOURCE
CODE” shall be subject to obligations with respect to “HIGHLY CONFIDENTIAL - SOURCE
CODE” materials outlined in the Protective Order.
        18.       In addition to the restrictions outlined in this Supplemental Protective Order,
material designated as “QUALCOMM – OUTSIDE ATTORNEYS’ EYES ONLY” shall be
subject to obligations with respect to “HIGHLY CONFIDENTIAL – ATTORNEYS’ EYES
ONLY” material outlined in the Protective Order.
III.    SCOPE
        19.       The protections conferred by this Supplemental Protective Order cover not only
Designated QUALCOMM Material (as defined above), but also any information copied or
extracted therefrom, as well as all copies, excerpts, summaries, or compilations thereof. Nothing
herein shall alter or change in any way the discovery provisions of the Federal Rules of Civil
Procedure or any applicable local rules or Court Orders. Identification of any individual pursuant
to this Supplemental Protective Order does not make that individual available for deposition, or

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any other form of discovery outside of the restrictions and procedures of the Federal Rules of Civil
Procedure or any applicable rules or Court Orders.

        20.     This Supplemental Protective Order shall not prevent a disclosure to which Non-
Party QUALCOMM consents in writing before that disclosure takes place.
        21.     This Supplemental Protective Order shall apply to all Designated QUALCOMM
Material that is produced or provided for inspection in this action, including all Designated
QUALCOMM Material that is in the possession, custody or control of Non-party QUALCOMM
or any Party in this action, or that is otherwise relevant to this action.
IV.     ACCESS TO DESIGNATED QUALCOMM MATERIAL
        22.     Access to “QUALCOMM – OUTSIDE ATTORNEYS’ EYES ONLY” Material:
Unless otherwise ordered by the Court or permitted in writing by Non-Party QUALCOMM, a
Receiving Party may disclose any information, document or thing designated “QUALCOMM –
OUTSIDE ATTORNEYS’ EYES ONLY” only to:
                a.      Persons who appear on the face of Designated QUALCOMM Material as
                        an author, addressee or recipient thereof, or persons who have been
                        designated under FRCP 30(b)(6) to provide testimony on behalf of a
                        Producing Party;
                b.      Counsel of Record;
                c.      Outside Consultants of the Receiving Party to whom disclosure is
                        reasonably necessary for this action, and who have, after the date of this
                        Supplemental Protective Order, signed the “Acknowledgement And
                        Agreement To Be Bound By Supplemental Protective Order Governing
                        Confidential Information of Non-Party Qualcomm In This Case” attached
                        hereto as Exhibit A, and the “Certification Of Consultant Re Supplemental
                        Protective Order Governing Confidential Information of Non-Party
                        Qualcomm In This Case,” attached hereto as Exhibit B;



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             d.     Any designated arbitrator or mediator who is assigned to hear this matter,
                    or who has been selected by the Parties, and his or her staff; who have, after

                    the   date   of   this   Supplemental     Protective   Order,    signed   the
                    “Acknowledgement And Agreement To Be Bound By Supplemental
                    Protective Order Governing Confidential Information of Non-Party
                    Qualcomm In This Case” attached hereto as Exhibit A, and the
                    “Certification Of Consultant Re Supplemental Protective Order Governing
                    Confidential Information of Non-Party Qualcomm In This Case,” attached
                    hereto as Exhibit B, as well as any arbitrator’s or mediator’s staff who have
                    also signed Exhibits A and B;
             e.     Court reporters and videographers employed in connection with this action;
                    and
             f.     Professional Vendors to whom disclosure is reasonably necessary for this
                    action, and a representative of which has signed the “Acknowledgement
                    And Agreement To Be Bound By Supplemental Protective Order
                    Governing Confidential Information of Non-Party Qualcomm In This Case”
                    attached hereto as Exhibit A, subject to the following exception:
                    Designated QUALCOMM Material shall not be disclosed to mock jurors
                    without Non-Party QUALCOMM’s express written consent;
             g.     The Court, its personnel and the jury.
      23.    Access to “QUALCOMM – OUTSIDE ATTORNEYS’ EYES ONLY –SOURCE
CODE” Material: Unless otherwise ordered by the Court or permitted in writing by Non-Party
QUALCOMM, a Receiving Party may disclose any information, document, or thing designated
“QUALCOMM – OUTSIDE ATTORNEYS’ EYES ONLY –SOURCE CODE” only to:
             a.     Persons who appear on the face of Designated QUALCOMM Material as
                    an author, addressee or recipient thereof, or persons who have been



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          designated under FRCP 30(b)(6) to provide testimony of behalf of a
          Producing Party or Qualcomm regarding the same;

    b.    Counsel of Record;
    c.    Outside Consultants of the Receiving Party to whom disclosure is
          reasonably necessary for this litigation, and who have, after the date of this
          Supplemental Protective Order, signed the “Acknowledgement And
          Agreement To Be Bound By Supplemental Protective Order Governing
          Confidential Information of Non-Party Qualcomm In This Case” attached
          hereto as Exhibit A, and the “Certification Of Consultant Re Supplemental
          Protective Order Governing Confidential Information of Non-Party
          Qualcomm In This Case,” attached hereto as Exhibit B;
    d.    Any designated arbitrator or mediator who is assigned to hear this matter,
          or who has been selected by the Parties, and his or her staff; who have, after
          the   date   of   this   Supplemental     Protective   Order,    signed   the
          “Acknowledgement And Agreement To Be Bound By Supplemental
          Protective Order Governing Confidential Information of Non-Party
          Qualcomm In This Case” attached hereto as Exhibit A, and the
          “Certification Of Consultant Re Supplemental Protective Order Governing
          Confidential Information of Non-Party Qualcomm In This Case,” attached
          hereto as Exhibit B, as well as any arbitrator’s or mediator’s staff who have
          also signed Exhibits A and B, provided, however, that before such
          disclosure, QUALCOMM is provided notice including: (a) the individual’s
          name and business title; (b) business address; (c) business or professions;
          and (d) the individual’s CV. QUALCOMM shall have five (5) business
          days from receipt of the notice to object in writing to such disclosure (plus
          three (3) extra days if notice is given other than by hand delivery, e-mail
          delivery or facsimile transmission). After the expiration of the 5 business

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                           days (plus 3 days, if appropriate) period, if no objection has been asserted,
                           then “QUALCOMM – OUTSIDE ATTORNEYS’ EYES ONLY –

                           SOURCE CODE” materials may be disclosed pursuant to the terms of this
                           Supplemental Protective Order;
                e.         Court reporters and videographers employed in connection with this action,
                           subject to the provisions provided in subparagraph 32(g) herein;
                f.         Professional Vendors to whom disclosure is reasonably necessary for this
                           action, and a representative of which has signed the “Acknowledgement
                           And Agreement To Be Bound By Supplemental Protective Order
                           Governing Confidential Information of Non-Party Qualcomm In This Case”
                           attached hereto as Exhibit A, subject to the following exception: Designated
                           QUALCOMM Material shall not be disclosed to mock jurors without Non-
                           Party QUALCOMM’s express written consent; and
                g.         The Court, its personnel and the jury.
       24.      Notwithstanding the Protective Order, unless otherwise ordered or agreed in
writing by Non-Party QUALCOMM, Designated QUALCOMM Material may not be disclosed to
employees of a Receiving Party, including its in-house attorneys and support staff.
       25.      Notwithstanding the Protective Order, unless otherwise ordered or agreed in
writing by Non-Party QUALCOMM, Designated QUALCOMM Material may not be disclosed to
mock jurors.
       26.      The Parties acknowledge that Designated QUALCOMM Material also may be
subject to the US government export control and economic sanctions laws (“Export Controlled
Information”), including the Export Administration Regulations (“EAR”, 15 CFR 730 et seq.,
http://www.bis.doc.gov/ ) administered by the Department of Commerce, Bureau of Industry and
Security,     and    the    Foreign    Asset   Control    Regulations    (31    CFR    500    et   seq.,
http://www.treas.gov/offices/enforcement/ofac/) administered by the Department of Treasury,
Office of Foreign Assets Control (“OFAC”). Receiving Parties may not directly or indirectly

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export, re-export, transfer or release (collectively, “Export”) any Designated QUALCOMM
Material to any destination, person, entity or end use prohibited or restricted under US law without

prior US government authorization to the extent required by regulation. The US government
maintains embargoes and sanctions against the countries listed in Country Groups E:1/2 of the
EAR (Supplement 1 to part 740) Export Controlled Information disclosed in this action will be
used only for the purposes of this action. Outside Counsel or other individuals authorized to
receive Export Controlled Information will not disclose, export, or transfer, in any manner, Export
Controlled Information to any foreign person except as permitted by U.S. law, and will not
transport any such document outside of U.S. territory, without prior written approval of the Bureau
of Industry and Security or other appropriate U.S. government department or agency, except as
permitted by U.S. law.
       27.     Receiving Party may host “QUALCOMM – OUTSIDE ATTORNEYS’ EYES
ONLY” Material only on either 1) any system inside the firewall of a law firm representing the
Receiving Party, or 2) inside the system of a professional ESI Vendor retained by Counsel of
Record of the Receiving Party. “QUALCOMM – OUTSIDE ATTORNEYS’ EYES ONLY”
Material also cannot be sent or transmitted to any person, location, or vendor outside of the United
States except to Counsel of Record and Outside Consultants designated pursuant to subparagraphs
22(c) and 23(c) above. To the extent that any “QUALCOMM – OUTSIDE ATTORNEYS’ EYES
ONLY” Material is transmitted from or to authorized recipients outside of the Receiving Party’s
Outside Counsel’s office, or outside of the ESI Vendor’s system, the transmission shall be by hand
(and encrypted if in electronic format), by a secure transport carrier (e.g., Federal Express), or by
secure electronic means, such as email using an encrypted password protected container (other
than Trucrypt), or download via secure FTP. “QUALCOMM – OUTSIDE ATTORNEYS’ EYES
ONLY –SOURCE CODE” may not be transmitted by electronic means; however, this should not
be understood to prohibit the electronic transmittal of testifying experts’ expert reports or drafts,
court filings, and trial demonstratives, thereof that may refer to QUALCOMM – OUTSIDE
ATTORNEYS’ EYES ONLY –SOURCE CODE, subject to the limitations set forth in Section

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32(g) herein, and as long as such electronic transmittal is by secure electronic means, such as email
using an encrypted password protected container (other than Trucrypt), or download via secure

FTP. Court filings containing QUALCOMM – OUTSIDE ATTORNEYS’ EYES ONLY and
QUALCOMM – OUTSIDE ATTORNEYS’ EYES ONLY –SOURCE CODE may be submitted
via the Court’s ECF filing system subject to the limitations set forth in Section 32(g) herein.
        28.    Each person to whom Designated QUALCOMM Material may be disclosed, and
who is required to sign the “Acknowledgement And Agreement To Be Bound By Supplemental
Protective Order Governing Confidential Information of Non-Party Qualcomm In This Case”
attached hereto as Exhibit A and, if applicable, the “Certification Of Consultant Re Supplemental
Protective Order Governing Confidential Information of Non-Party Qualcomm In This Case,”
attached hereto as Exhibit B, shall do so, prior to the time such Designated QUALCOMM Material
is disclosed to him or her. Counsel for the Receiving Party who makes any disclosure of
Designated QUALCOMM Material shall retain each original executed certificate and, upon
written request, shall provide copies to counsel for Non-Party QUALCOMM at the termination of
this action.
        29.    Absent written permission from Non-Party QUALCOMM, persons not permitted
access to Designated QUALCOMM Material under the terms of this Supplemental Protective
Order shall not be present at depositions while Designated QUALCOMM Material is discussed or
otherwise disclosed. Pre-trial and trial proceedings shall be conducted in a manner, subject to the
supervision of the Court, to protect Designated QUALCOMM Material from disclosure to persons
not authorized to have access to such Designated QUALCOMM Material. Any Party intending to
disclose or discuss Designated QUALCOMM Material at pretrial or trial proceedings must give
advance notice to the Producing Party to assure the implementation of the terms of this
Supplemental Protective Order.
V.      ACCESS BY OUTSIDE CONSULTANTS
        30.    Notice. If a Receiving Party wishes to disclose Designated QUALCOMM Material
to any Outside Consultant, Receiving Party must, prior to the Outside Consultant being granted

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access to any Designated QUALCOMM Material, provide notice to counsel for Non-Party
QUALCOMM, which notice shall include: (a) the individual’s name and business title; (b) country

of citizenship; (c) business address; (d) business or profession; (e) the individual’s CV; (f) any
previous or current relationship (personal or professional) with Non-Party QUALCOMM or any
of the Parties to this action; (g) a list of other cases in which the individual has testified (at trial or
deposition) within the last six years; (h) a list of all companies with which the individual has
consulted or by which the individual has been employed within the last four years, the dates of the
consultancy or employment, a brief description of the subject matter of the consultancy or
employment, and (i) copies of the “Acknowledgement and Agreement To Be Bound By
Supplemental Protective Order Governing Confidential Information of Non-Party Qualcomm In
This Case,” attached as Exhibit A, and the “Certification Of Consultant Re Supplemental
Protective Order Governing Confidential Information of Non-Party Qualcomm In This Case,”
attached hereto as Exhibit B, that have both been signed by that Outside Consultant.
        31.     Objections. With respect to Outside Consultants that have not been previously
disclosed to Non-Party QUALCOMM, Non-Party QUALCOMM shall have five (5) business
days, starting from the first business day following the date upon which Receiving Party provides
the notice and all information required by paragraph 30 to the Producing Party, to object for good
cause in writing to such disclosure (plus three (3) extra days if notice is given in any manner other
than by hand delivery, e-mail delivery or facsimile transmission). After the expiration of the 5
business days (plus 3-days, if appropriate) period, if no objection for good cause has been asserted
by Non-Party QUALCOMM, then Designated QUALCOMM Material may be disclosed to the
Outside Consultant pursuant to the terms of this Supplemental Protective Order. Any objection
by Non-Party QUALCOMM must be made for good cause, and must set forth in detail the grounds
on which it is based. Should Receiving Party disagree with the basis for the objection(s), Receiving
Party must first attempt to resolve the objection(s) informally with Non-Party QUALCOMM. If
the informal efforts do not resolve the dispute within five (5) business days from the date upon
which Receiving Party was first notified of any objection for good cause by Non-Party

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QUALCOMM, Receiving Party may file a motion requesting that the objection(s) be quashed after
that five (5) day period has passed. Non-Party Qualcomm shall have the burden of proof on the

issue of the sufficiency of the objection(s). Pending a ruling by the Court upon any such
objection(s), or the subsequent resolution of the objection for good cause by Receiving Party and
Non-Party QUALCOMM, the discovery material shall not be disclosed to the person objected to
by Non-Party QUALCOMM.
VI.    PRODUCTION OF QUALCOMM – OUTSIDE ATTORNEYS’ EYES ONLY –
SOURCE CODE MATERIAL
       32.    Non-Party QUALCOMM’s Source Code:
              a.      To the extent that a Producing Party makes Non-Party QUALCOMM’s
                      Source           Code           available          for          inspection:
                               (i) The Producing Party shall make all relevant and properly
                      requested Non-Party QUALCOMM Source Code available electronically
                      and in text searchable form (1) if produced by Non-Party QUALCOMM, in
                      a separate room at a secure facility selected by Non-Party QUALCOMM or
                      (2) if produced by Defendants, at the offices of Counsel of Record for the
                      producing Defendants or at a secure facility approved by QUALCOMM.
                      The Producing Party shall make the Source Code available for inspection
                      on a stand-alone, non-networked personal computer running a reasonably
                      current version of the Microsoft Windows operating system (“Source Code
                      Computer”). Alternatively, solely at the option of the Producing Party, the
                      Producing Party may make such source code available on a Source Code
                      Computer that is networked, in a configuration deemed secure by Non-Party
                      QUALCOMM. The Source Code Computer shall be configured to permit
                      review of the Source Code through a password-protected account having
                      read-only access. To facilitate review of the Source Code at the secure
                      facility, the Receiving Party may use appropriate tool software on the

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           Source Code Computer, which shall be installed by the Producing Party,
           including at least one text editor like Visual Slick Edit that is capable of

           printing out Source Code with page and/or line numbers, a source code
           comparison tool like Winmerge, and at least one multi-text file text search
           tool such as “grep.” Should it be necessary, other mutually agreed upon
           tools may be used. Licensed copies of other mutually agreed upon tool
           software shall be installed on the Source Code Computer by the Producing
           Party and paid for by the Receiving Party.
                  (ii) In the event a Producing Party makes Chip-Level Schematics or
           Integrated Circuit Layouts available for review, the Producing Party shall
           ensure that the Source Code Computers include software sufficient to allow
           a user to view such types of Source Code.
     b.    The Producing Party shall provide access to the Source Code Computer
           during the normal operating hours of the secure facility.
     c.    The Source Code Computers shall be equipped to print PDF copies of the
           Source Code so that the Receiving Party can designate the Source Code for
           which it would like hard-copy printouts which shall be printed by the
           Producing Party on watermarked pre-Bates numbered paper after the review.
           Additionally, the Receiving Party may not print any continuous block of
           source code that results in more than 50 consecutive printed pages, except
           that Authorized Reviewer(s) may request the printing of a continuous block
           of more than 50 pages, which request shall not be unreasonably denied by
           the Producing Party. Counsel for the Producing Party will keep the original
           printouts, and shall provide copies of such original printouts to counsel for
           the Receiving Party within seven (7) days of (1) any request by the
           Receiving Party, or (2) otherwise being notified that such original printouts
           have been made or designated. Counsel of Record for the Receiving Party

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           may request up to 10 copies of each original printout of Source Code. No
           more than 500 original printouts of Source Code for any software release or

           hardware product may be in printed form at any one time, without the
           express written consent of Non-Party QUALCOMM, which shall not be
           unreasonably denied. All printed Source Code shall be logged by Receiving
           Party’s Counsel of Record and/or other Personnel Retained by a Receiving
           Party in this action as noted in subparagraph 32 (i) below. No additional
           electronic copies of the Source Code shall be provided by the Producing
           Party. Hard copies of the Source Code also may not be converted into an
           electronic document, and may not be scanned using optical character
           recognition (“OCR”) technology. Only printouts of Source Code may be
           made, and such printouts, where made of programming language text, must
           include (1) directory path information and filenames from which the Source
           Code came and (2) line numbers. The Producing Party may refuse to
           provide copies of Source Code printouts that fail to comply with this
           section.
     d.    Authorized Reviewer(s) in this action shall not print Source Code which
           have not been reviewed on the Source Code Computer, or in order to review
           the Source Code elsewhere in the first instance, i.e., as an alternative to
           reviewing that Source Code electronically on the Source Code Computer,
           as the Parties and QUALCOMM acknowledge and agree that the purpose
           of the protections herein would be frustrated by such actions.
     e.    Authorized Reviewer(s) are prohibited from bringing outside electronic
           devices, including but not limited to laptops, floppy drives, zip drives, or
           other hardware into the secure room, except as outlined in Paragraph 32(f).
           Nor shall any cellular telephones, personal digital assistants (PDAs),
           Blackberries, cameras, voice recorders, Dictaphones, external or portable

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           telephone jacks or other outside electronic devices be permitted inside the
           secure room, except for medical devices, implants, or equipment reasonably

           necessary for any legitimate medical reason.
     f.    If any Authorized Reviewer(s) reviewing Non-Party QUALCOMM’s
           Source Code seeks to take notes, all such notes will be taken on bound
           (spiral or other type of permanently bound) notebooks. No loose paper or
           other paper that can be used in a printer may be brought into the secure room.
           In addition to taking notes on bound notebooks, an Authorized Reviewer
           may also bring a USB memory device to the secure room, to be inserted into
           a notetaking laptop computer provided by the Producing Party or the
           Producing Party’s vendor.      The notetaking laptop computer shall be
           configured with Microsoft Word, such that the Reviewing Party can create
           or modify documents directly on the USB memory device plugged into the
           notetaking laptop computer. The Receiving Party shall encrypt any file on
           the USB memory device that contains confidential material subject to this
           Supplemental Protective Order using Microsoft Word’s “Encrypt with
           Password” functionality accessible through the File->Info->Protect
           Document menu in Microsoft Word. The Receiving Party’s Outside
           Counsel and/or experts may not copy the Source Code Material into the
           notes and may not take such notes electronically on the Source Code
           Computer itself. Unless otherwise agreed in advance by the Parties in
           writing, following each day on which inspection is done under this Order,
           the Receiving Party’s Outside Counsel and/or experts shall remove all notes,
           documents, USB memory devices, and all other materials from the Source
           Code Review Room. The Producing Party shall not be responsible for any
           items left in the room following each inspection session, and the Receiving
           Party shall have no expectation of confidentiality for any items left in the

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           room following each inspection session without a prior agreement to that
           effect.

     g.    If Qualcomm’s Source Code is quoted or set forth in a confidential pleading,
           infringement contention, or expert report, the Party including the Source
           Code will limit the amount of such Source Code to what is reasonably
           necessary for the party to make its point and will designate such documents
           QUALCOMM - OUTSIDE ATTORNEYS’ EYES ONLY –SOURCE
           CODE. Absent Qualcomm’s consent (which will not be unreasonably
           withheld), an excerpt of programming language text will not exceed five (5)
           continuous lines of code, and an excerpt of Chip-Level Schematics or
           Integrated Circuit Layouts will not exceed five (5) sequential pages of
           printouts of such material.
           Except as approved by QUALCOMM, longer excerpts shall not be copied
           for use in court documents but shall be referred to by citation to production
           page numbers and lines. A Receiving Party shall provide notice to
           QUALCOMM or its counsel for each occasion on which it submits portions
           of Designated Source Code Material in a pleading or other Court document.
           In the event copies of Source Code printouts are used as exhibits in a
           deposition or trial, printouts shall not be provided to the court reporter, and
           the further copies of the original QUALCOMM Source Code printouts
           made for the deposition or trial shall be destroyed at the conclusion of the
           deposition or trial. The original copies of deposition exhibits designated
           “QUALCOMM – OUTSIDE ATTORNEYS’ EYES ONLY –SOURCE
           CODE” will be maintained by the deposing party under the terms set forth
           in this Supplemental Protective Order.
     h.    In addition to other reasonable steps to maintain the security and
           confidentiality of Non-Party QUALCOMM’s Source Code, printed copies

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                       of the Designated Source Code Material maintained by the Receiving Party
                       must be kept in a locked storage container when not being actively reviewed

                       or otherwise being transferred as permitted by the Protective Order and/or
                       this Supplemental Protective Order.
               i.      The Receiving Party’s Counsel of Record shall keep log(s) recording the
                       identity of each individual to whom each hard copy of each Producing
                       Party’s QUALCOMM Source Code is provided and when it was provided
                       to that person in the first instance, and within thirty (30) days after the
                       issuance of a final, non-appealable decision resolving all issues in this
                       action, the Receiving Party must serve upon Non-Party QUALCOMM the
                       log. In addition, any Outside Consultants of the Receiving Party to whom
                       the paper copies of the QUALCOMM Source Code were provided must
                       certify in writing that all copies of the QUALCOMM Source Code were
                       destroyed or returned to the counsel who provided them the information and
                       that they will make no use of the Source Code, or of any knowledge gained
                       from the source code in any future endeavor.
VII.   PROCEDURE FOR DESIGNATING MATERIALS
       33.     Subject to the limitations set forth in the Protective Order and in this Supplemental
Protective Order, any Party or Non-Party QUALCOMM may: designate as “QUALCOMM –
OUTSIDE ATTORNEYS’ EYES ONLY” or information that it believes, in good faith, meets the
definition set forth in paragraph 2 above; and designate as “QUALCOMM – OUTSIDE
ATTORNEYS’ EYES ONLY –SOURCE CODE” information that it believes, in good faith, meets
the definition set forth in paragraph 5 above.
       34.     Except as provided above in paragraph 32 with respect to “QUALCOMM –
OUTSIDE ATTORNEYS’ EYES ONLY –SOURCE CODE” Material, any material, including
(including physical objects) made available by Non-Party QUALCOMM for initial inspection by
counsel for the Receiving Party prior to producing copies of selected items shall initially be

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considered, as a whole, to constitute “QUALCOMM – OUTSIDE ATTORNEYS’ EYES ONLY”
information, and shall be subject to this Order. Thereafter, Non-Party QUALCOMM shall have

seven (7) calendar days from the inspection to review and designate the appropriate documents as
“QUALCOMM – OUTSIDE ATTORNEYS’ EYES ONLY” prior to furnishing copies to the
Receiving Party.
       35.    Designation in conformity with the Protective Order and this Supplemental
Protective Order shall be made as follows:
              a.      For information in documentary (including “electronically stored
                      information”) form (apart from transcripts of depositions or other pretrial or
                      trial proceedings):     the Designating Party shall affix the legend
                      “QUALCOMM          –   OUTSIDE      ATTORNEYS’         EYES     ONLY”      or
                      “QUALCOMM – OUTSIDE ATTORNEYS’ EYES ONLY –SOURCE
                      CODE” conspicuously on each page that contains Protected Material.
                             A party or non-party that makes original documents or materials
                      available for inspection need not designate them for protection until after
                      the Receiving Party has indicated which material it would like copied or
                      produced. Before and during the inspection, all material made available for
                      inspection shall be deemed “QUALCOMM – OUTSIDE ATTORNEYS’
                      EYES ONLY.” After the Receiving Party has identified the documents it
                      wants copied and produced, the Producing Party must determine which
                      documents, or portions thereof, qualify for protection under this Order and,
                      before producing the specified documents, the Producing Party must affix
                      the appropriate legend to each page that contains Designated QUALCOMM
                      Material.
              b.      For Testimony Given in Deposition:          For deposition transcripts, the
                      Designating Party shall specify any portions of the testimony that it wishes
                      to designate, by line and page number, no later than 20 business days after

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           the final transcript of the deposition has been received. The Party or Non-
           Party may identify the entirety of the transcript as “QUALCOMM –

           OUTSIDE ATTORNEYS’ EYES ONLY” or “QUALCOMM – OUTSIDE
           ATTORNEYS’ EYES ONLY –SOURCE CODE,” but all deposition
           transcripts not designated during the deposition will nonetheless be treated
           as “QUALCOMM – OUTSIDE ATTORNEYS’ EYES ONLY” or
           “QUALCOMM – OUTSIDE ATTORNEYS’ EYES ONLY –SOURCE
           CODE,” until the time within which it may be appropriately designated as
           provided for herein has passed. Any Protected Material that is used in the
           taking of a deposition shall remain subject to the provisions of this
           Supplemental Protective Order and the Protective Order in these actions,
           along with the transcript pages of the deposition testimony dealing with
           such Protected Material. In such cases the court reporter shall be informed
           of this Supplemental Protective Order and shall be required to operate in a
           manner consistent with this Supplemental Protective Order. Transcript
           pages containing Designated Material must be separately bound by the court
           reporter, who must affix to the top of each such page the legend
           “QUALCOMM – OUTSIDE ATTORNEYS’ EYES ONLY” and/or
           “QUALCOMM – OUTSIDE ATTORNEYS’ EYES ONLY –SOURCE
           CODE.” An encrypted, password protected copy of deposition transcripts
           containing Designated Qualcomm Material made pursuant to this paragraph
           may be hosted electronically by the Receiving Party on any system inside
           the firewall of a law firm representing the Receiving Party, however, all
           other restrictions in this Supplemental Protective Order pertaining to
           Designated Source Code Material apply. In the event the deposition is
           videotaped, the original and all copies of the videotape shall be marked by
           the video technician to indicate that the contents of the videotape are subject

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                      to this Supplemental Protective Order and the Protective Order,
                      substantially along the lines of “This videotape contains confidential or

                      outside counsel eyes only confidential testimony used in this case and is not
                      to be viewed or the contents thereof to be displayed or revealed except
                      pursuant to the terms of the operative protective orders in this matter or
                      pursuant to written stipulation of the parties.” Counsel for any Designating
                      Party shall have the right to exclude from oral depositions, other than the
                      deponent, deponent’s counsel, and the reporter and videographer (if any),
                      any person who is not authorized by the Protective Orders in this action to
                      receive or access Protected Material based on the designation of such
                      Protected Material.
              c.      For information produced in some form other than documentary, and for
                      any other tangible items, the Designating Party shall affix, in a prominent
                      place on the exterior of the medium, container or containers in which the
                      information or item is stored, the appropriate legend.
              d.      The provisions of subparagraphs 35 (a-c) do not apply to documents
                      produced in native format. For documents produced in native format, the
                      parties shall provide written notice to the Receiving Party of any
                      confidentiality designations at the time of production.
VIII. USE OF DESIGNATED QUALCOMM MATERIAL
       36.    Use of Designated QUALCOMM Material By Receiving Party: Unless otherwise
ordered by the Court, or agreed to in writing by Non-Party QUALCOMM, all Designated
QUALCOMM Material, and all information derived therefrom, shall be used by the Receiving
Party only for purposes of this action, and shall not be used in any other way, or for any other
purpose, including the acquisition, preparation or prosecution before the Patent office of any
patent, patent application, for drafting or revising patent claims, or in connection with patent
licensing or product development work directly or indirectly intended for commercial purposes

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related to the particular technologies or information disclosed in the Designated QUALCOMM
Material. Information contained or reflected in Designated QUALCOMM Material shall not be

disclosed in conversations, presentations by parties or counsel, in court or in other settings that
might reveal Designated QUALCOMM Material, except in accordance with the terms of the
Protective Order or this Supplemental Protective Order. No Designated QUALCOMM Material
shall be transmitted or transported outside of the United States, communicated to any recipient
who is located outside of the United States, or communicated to any recipient who is not a citizen
or lawful permanent resident of the United States for any purpose whatsoever without the express
written permission of QUALCOMM. Nothing in this Supplemental Protective Order shall prohibit
the transmission or communication of Designated QUALCOMM Material between or among
qualified recipients located in the United States who are citizens or lawful permanent residents of
the United States, by hand delivery or, subject to the other requirements of this Supplemental
Protective Order, by telephone, facsimile, or other electronic transmission system, where, under
the circumstances, there is no reasonable likelihood that the transmission will be intercepted or
misused by any person who is not an Authorized Reviewer.
       37.     Use of Designated QUALCOMM Material by Non-Party QUALCOMM: Nothing
in this Supplemental Protective Order shall limit Non-Party QUALCOMM’s use of its own
documents and information, nor shall it prevent Non-Party QUALCOMM from disclosing its own
confidential information, documents or things to any person. Such disclosure shall not affect any
designations made pursuant to the terms of this Supplemental Protective Order, so long as the
disclosure is made in a manner that is reasonably calculated to maintain the confidentiality of the
information.
       38.     Use of Designated QUALCOMM Material at Deposition:                       Non-Party
QUALCOMM shall, on request prior to the deposition, make a searchable electronic copy of the
QUALCOMM Source Code available on a stand-alone computer connected to a printer during
depositions of QUALCOMM personnel otherwise permitted access to such Source Code. To the
extent required, the party conducting the deposition may print additional pages of Source Code

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printouts to be marked as exhibits at such depositions consistent with other provisions and
limitations of the Protective Order and this Supplemental Protective Order. Except as may be

otherwise ordered by the Court, any person may be examined as a witness at depositions and trial,
and may testify concerning all Designated QUALCOMM Material of which such person has prior
knowledge.
       39.     Use of Designated QUALCOMM Material at Hearing or Trial: The parties will
give Non-Party QUALCOMM prior notice of, and an opportunity to object to, any intended use
of the Designated QUALCOMM Material at any hearing or trial in this case. Said notice shall (a)
be served by facsimile or email on counsel for Non-Party QUALCOMM at least five (5) business
days prior to the hearing or first day of trial, (b) identify the Designated QUALCOMM Material
with specificity while redacting any other Party’s Confidential Business Information and (c)
identify the measures the party intends to rely upon to protect the Designated QUALCOMM
Material when used at any hearing or trial consistent with this Supplemental Protective Order.
This section shall not limit in any way the use of Designated QUALCOMM Material during the
cross-examination of any witness otherwise permitted access to such Designated QUALCOMM
Material, as long as the parties take all necessary steps to protect and maintain the confidentiality
of any such Designated QUALCOMM Material.
IX.    PROSECUTION AND DEVELOPMENT BAR
       40.     Unless otherwise permitted in writing between Producing Party and Receiving
Party, any individual who personally receives, other than on behalf of Producing Party, any
material designated “QUALCOMM – OUTSIDE ATTORNEYS’ EYES ONLY” or
“QUALCOMM – OUTSIDE ATTORNEYS’ EYES ONLY –SOURCE CODE” shall not
participate in amending or drafting patent specifications or claims before a Patent Office of any
patent or patent application related to the information disclosed in the Designated QUALCOMM
Material, from the time of receipt of such material through the date the individual person(s) cease
to have access to materials designated “QUALCOMM – OUTSIDE ATTORNEYS’ EYES
ONLY” or “QUALCOMM – OUTSIDE ATTORNEYS’ EYES ONLY –SOURCE CODE,” as

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well as any materials that contain or disclose Designated QUALCOMM Material. This provision
shall not apply to post-grant proceedings, including without limitation reexamination, covered

business method (CBM), inter partes review (IPR) post grant review (PGR) or opposition
proceedings.
       41.     Unless otherwise permitted in writing between Non-Party QUALCOMM and
Receiving Party, any Outside Consultant retained on behalf of Receiving Party who is to be given
access to Non-Party QUALCOMM’s documents or Source Code designated as “QUALCOMM –
OUTSIDE ATTORNEYS’ EYES ONLY” or “QUALCOMM – OUTSIDE ATTORNEYS’ EYES
ONLY –SOURCE CODE” must agree in writing, using the form in Exhibit B, not to perform
hardware or software development work or product development work directly or indirectly
intended for commercial purposes related to the        information disclosed in the Designated
QUALCOMM Material, which is not publicly known, from the time of first receipt of such
material through the date the expert consultant ceases to have access to any material designated
“QUALCOMM – OUTSIDE ATTORNEYS’ EYES ONLY” or “QUALCOMM – OUTSIDE
ATTORNEYS’ EYES ONLY –SOURCE CODE,” as well as any materials that contain or disclose
Designated QUALCOMM Material.
X.     DESIGNATED QUALCOMM MATERIAL SUBPOENAED OR ORDERED
PRODUCED IN OTHER LITIGATION
       42.     If a Receiving Party is served with a subpoena or a court order that would compel
disclosure of any information, documents or things designated in this action as “QUALCOMM –
OUTSIDE ATTORNEYS’ EYES ONLY” or “QUALCOMM –OUTSIDE ATTORNEYS’ EYES
ONLY –SOURCE CODE,” Receiving Party must notify the Producing Party and Non-Party
QUALCOMM of such information, documents or things, in writing (by fax and email) promptly,
and in no event more than ten (10) calendar days after receiving the subpoena or order. Such
notification must include a copy of the subpoena or order. Receiving Party also must immediately
inform, in writing, the party who caused the subpoena or order to issue that some or all of the
material covered by the subpoena or order is subject to this Supplemental Protective Order and the

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Protective Order. In addition, the Receiving Party must provide a copy of this Supplemental
Protective Order and the Protective Order promptly to the party in the other action that caused the

subpoena or order to issue. The purpose of imposing these duties is to alert the interested parties
to the existence of this Supplemental Protective Order and the Protective Order, and to afford the
Party whose Designated QUALCOMM Material in this case is at issue in the other case an
opportunity to try to protect its confidentiality interests in the court from which the subpoena or
order issued. Producing Party shall bear the burdens and the expenses of seeking protection in that
court of its Designated QUALCOMM Material. Nothing in these provisions should be construed
as authorizing or encouraging any Receiving Party in this action to disobey a lawful directive from
another court.
XI.    UNAUTHORIZED DISCLOSURE OF DESIGNATED QUALCOMM MATERIAL
       43.       If a Receiving Party learns that, by inadvertence or otherwise, it has disclosed
Designated QUALCOMM Material to any person or in any circumstance not authorized under this
Order, the Receiving Party must immediately (a) notify in writing Producing Party and Non-Party
QUALCOMM of the unauthorized disclosures, (b) use its best efforts to retrieve all copies of the
Designated QUALCOMM Material, (c) inform the person or persons to whom unauthorized
disclosures were made of all the terms of this Order, and (d) request such person or persons to
execute the “Acknowledgment and Agreement to Be Bound By Supplemental Protective Order
Governing Confidential Information of Non-Party Qualcomm In This Case” that is attached hereto
as Exhibit A. Nothing in these provisions should be construed as limiting any Producing Party’s
rights to seek remedies for a violation of this Supplemental Protective Order.
XII.   DURATION
       44.       Even after the termination of this action, the confidentiality obligations imposed by
this Supplemental Protective Order shall remain in effect following the termination of this action,
or until Non-Party QUALCOMM agrees otherwise in writing or a court order otherwise directs.




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XIII. FINAL DISPOSITION

       45.     Unless otherwise ordered or agreed in writing by Producing Party, within sixty (60)
days of the termination of all of this action, whether through settlement or final judgment

(including any and all appeals therefrom), each Receiving Party, including Outside Counsel for

each Receiving Party, will destroy all Designated QUALCOMM Material produced by Non-Party

QUALCOMM or any other Party in this action and will destroy or redact any such Designated

QUALCOMM Material included in work product, pleadings, motion papers, legal memoranda,

correspondence, trial transcripts and trial exhibits admitted into evidence (“derivations”) and all

copies thereof, with the exception of copies stored on back-up tapes or other disaster recovery

media. This destruction obligation includes all files on USB memory devices used while inspecting

Qualcomm’s Source Code. Within sixty (60) days of the date of settlement or final judgment, each

Receiving Party shall serve Non-Party QUALCOMM with a certification stating that it, including

its Outside Counsel, has complied with its obligations under this paragraph. With respect to any

copy of Designated QUALCOMM Material or derivation thereof that remains on back-up tapes

and other disaster storage media of an Authorized Reviewer(s), neither the Authorized Reviewer(s)

nor its consultants, experts, counsel or other party acting on its behalf shall make copies of any

such information available to any person for any purpose other than backup or disaster recovery

unless compelled by law and, in that event, only after thirty (30) days prior notice to Producing

Party or such shorter period as required by court order, subpoena, or applicable law.



SIGNED this 7th day of December, 2022.




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                                           EXHIBIT A

  ACKNOWLEDGMENT AND AGREEMENT TO BE BOUND BY SUPPLEMENTAL
  PROTECTIVE ORDER GOVERNING CONFIDENTIAL INFORMATION OF NON-
                  PARTY QUALCOMM IN THIS CASE



       I, _______________________________________ [print or type full name], state: My

business address is ______________________________________________________;

       1.      My present employer is _____________________________________________;

       2.      My present occupation or job description is _____________________________;

       3.      I have been informed of and have reviewed the Stipulated Supplemental

Protective Order Between Non-Party Qualcomm Incorporated, Plaintiff and Defendants (the

“Supplemental Protective Order”) entered in this case, and understand and agree to abide by its

terms. I agree to keep confidential all information provided to me in the matter of XR

Communications, LLC, dba Vivato Technologies v. Samsung Electronics Co., Ltd., et al., Case

No. 6:21-cv-626-ADA in the United States District Court, Western District of Texas in

accordance with the restrictions in the Supplemental Protective Order, and to be subject to the

authority of that Court in the event of any violation or dispute related to the Supplemental

Protective Order.

       4.      I state under penalty of perjury under the laws of the United States of America

that the foregoing is true and correct.

                                              _____________________________
                                              [Signature]

Executed On_______________                    _____________________________
                                              [Printed Name]




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                                           EXHIBIT B

 CERTIFICATION OF CONSULTANT RE SUPPLEMENTAL PROTECTIVE ORDER
 GOVERNING CONFIDENTIAL INFORMATION OF NON-PARTY QUALCOMM IN
                           THIS CASE

       I, _______________________________________ [print or type full name], of

_______________________________________ am not an employee of the Party who retained

me or of a competitor of any Party or Non-Party Qualcomm Incorporated and will not use any

information, documents, or things that are subject to the Stipulated Supplemental Protective

Order Between Non-Party Qualcomm Incorporated, Plaintiff and Defendants (the “Supplemental

Protective Order”) in XR Communications, LLC, dba Vivato Technologies v. Samsung

Electronics Co., Ltd., et al., Case No. 6:21-cv-626-ADA in the United States District Court,

Western District of Texas, for any purpose other than this litigation. I agree not to perform

hardware or software development work or product development work intended for commercial

purposes related to the information disclosed in the Designated QUALCOMM Material, from the

time of receipt of such material through and including the date that I cease to have access to any

material designated “QUALCOMM – OUTSIDE ATTORNEYS’ EYES ONLY” or

“QUALCOMM – OUTSIDE ATTORNEYS’ EYES ONLY –SOURCE CODE.”

       I state under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.

                                             _____________________________
                                             [Signature]

Executed On_______________                   _____________________________
                                             [Printed Name]




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